    I
                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF TENNESSEE
                                         Greeneville Division
I
           IN THE MATTER OF SEARCH OF                   )
           STORED ELECTRONIC DATA                       )
           CONTAINED IN BLACK T-MOBILE                  )              No. 2:21-MJ-~
           CELLULAR PHONE WITH                          )
           IMEi O15727002830926                          )
                                                         )


                             AFFIDAVIT IN SUPPORT OF APPLICATION
                          FOR SEARCH WARRANT AND SEARCH WARRANT

                  I, Brandon G. Johnson, Task Force Officer, United States Department of Justice,

           Drug Enforcement Administration, being duly sworn under oath, states as follows:


                             INTRODUCTION AND AGENT BACKGROUND



           1. I, Brandon G. Johnson, I make this affidavit in support of an application under Rule

              41 of the Federal Rules of Criminal Procedure for a search warrant authorizing the

              examination of property-an electronic device-which is currently in law

              enforcement possession, and the extraction from that property of electronically stored

              information described in Attachment B.

           2. I am an investigative or law enforcement officer within the meaning of Section

              2510(7) of Title 18 of the United States Code, that is, an officer of the United States

              who is empowered by law to conduct investigations of, and to make arrests for,

              offenses enumerated in Section 2516 of Title 18 of the United States Code.

           3. I am currently employed as a Drug and Narcotics Investigator with the Kingsport

              Police Department, assigned to the U.S. Drug Enforcement Administration (DEA) as




        Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 1 of 15 PageID #: 2
     a Task Force Officer, and have been so assigned for one ( 1) year, and two (2) months .

      Prior to my assignment with the DEA, I was a Drug and Narcotics Investigator and

      Patrol Officer with the Kingsport, TN Police Department for four (4) years. Prior to

     my employment with the Kingsport Police Department, I ,vas a Patrol Officer with

     the Bluff City Police Department in Bluff City, Tennessee for approximately four (4)

     years. I was trained as a Police Officer at the Walter State Basic Police Academy.

      While at the Walter State Basic Police Academy, I received training in drug

      recognition, drug investigation and drug law prosecution. During the last nine (9)

     years of my law enforcement career, I have attended various classes/courses which

      specialize in the techniques and laws of criminal and drug investigations. The

      training included information that directly relates to possession, manufacturing and

      distribution of illegal narcotics including marijuana, methamphetamine, cocaine,

      heroin and prescription narcotics. During my employment as a Drug and Narcotics

      Investigator and DEA Task Force Officer, I have participated in multiple

      investigations involving the seizure of marijuana, methamphetamine, cocaine and

      prescription narcotics, the seizure of narcotic related records and other types of

     evidence that document a criminal organization's activities in both the manufacturing

     and distribution of controlled substances. To successfully conduct these

      investigations, I have utilized a variety of investigative techniques and resources,

      including physical and electronic surveillance and various types of informants and

     cooperating sources. Through these investigations, my training and experience, and

     conversations with other experienced Agents and law enforcement personnel, I have

     become familiar with the methods used by traffickers to smuggle and safeguard



                                                2



Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 2 of 15 PageID #: 3
      narcotics, to distribute narcotics, and collect and launder related proceeds. l am

      aware of the sophisticated tactics they routinely use to attempt to thwart any

      investigation of their narcotics organizations.


   4. This affidavit is intended to show only that there is sufficient probable cause for the

      requested warrant and does not set forth all of my knowledge about this matter.


                      IDENTIFICATION OF DEVICE TO BE EXAMINED


   5. The property to be searched is a black T-mobile cellular phone with IMEi number

      015727002830926. This cellular telephone, hereinafter the "Device", was located

      and seized from the person of BARRY JONES when he was arrested by the Johnson

      City Police Department on January 30, 2021. The Device is currently located in

      secure evidence storage at the Office of Homeland Security Investigations (HSI) in

      the Eastern District of Tennessee.


                              STATEMENT OF PROBABLE CAUSE

                                  Prior Investigation of Barry Jones


   6. The United States, including the Drug Enforcement Administration, is conducting a

      criminal investigation of BARRY JONES regarding possible violations of 21 U.S.C.

      §841 (a)(l ), distribution and possession with the intent to distribute

      methamphetamine, a Schedule II controlled substance; 21 U.S.C. §846, conspiracy to

      distribute and to possess with intent to distribute methamphetamine, a Schedule II

      controlled substance.

   7. During the course of the investigation, Your Affiant has determined that JONES

      carries a cellular phone and uses it to arrange drug transactions. For example, on

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Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 3 of 15 PageID #: 4
      October 29, 2020, the 2 nd Judicial District Drug Task Force (2 nd DTF) conducted a

      controlled purchase of methamphetamine from BARRY JONES. Agents utilized a

      Cooperating Source #444 (CS #444) to purchase one ( 1) ounce of methamphetamine

      from JONES for $800.00 in Kingsport, TN. CS #444 made the purchases under

      surveillance and at the direction of law enforcement. Prior to the purchase, CS #444

      and vehicle were searched and CS #444 was equipped with a devise to record/

      transmit the conversations. After the purchases, CS #444 met with law enforcement

      and turned over the methamphetamine to officers. CS #444 and vehicle were again

      searched and CS #444 debriefed. Prior to the transaction, CS #444 communicated

      with JONES via text messages to cell phone number (276) 870-4739 to arrange the

      deal.

   8. On December 1, 2020, your affiant received subscriber information from T-Mobile

      for the cell phone number (276) 870-4739. These records reflected that this number

      was subscribed to BARRY JONES at 231 Rocky Branch Rd., Blountville, TN. On

      December 8, 2020, a Court Order was obtained in the Eastern District of Tennessee

      for cellular location data for the device associated with cell phone number (276) 870-

      4739 (2:20-M.1-200).

   9. On December 14, 2020, the 2nd DTF and DEA conducted a controlled purchase of

      methamphetamine from BARRY JONES at Econo Lodge Room 106 in Kingsport,

      TN. CS #444 arranged to purchase 189 .4 grams of methamphetamine from JONES

      for $3,000. CS #444 made the purchases under surveillance and at the direction of

      law enforcement. Prior to the purchase, CS #444 and vehicle were searched and CS

      #444 was equipped with a devise to record/ transmit the conversations. After the



                                               4


Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 4 of 15 PageID #: 5
      purchases, CS #444 met with law enforcement and turned over the methamphetamine

      to officers. CS #444 and vehicle were again searched and CS #444 debriefed. During

      the course of the controlled purchase, Your Affiant was able to utilize the T-mobile

      location data to confirm JONES ' cellular phone was in the area of the Econo Lodge .

      CS #444 was equipped with a video recording device to capture the buy. Your Affiant

      reviewed the video after the successful purchase, and observed JONES scooping the

      methamphetamine that he sold to CS #444 from a much larger bag of a crystal

      substance believed to be methamphetamine.

   10. On January 15 , 2021 , Officers with the Tennessee Highway Patrol (THP) stopped a

      vehicle in which JONES was a passenger. The driver of the vehicle attempted to flee

      from police. During the pursuit vehicle traveled through multiple fields on private

      property and ultimately crashed into a creek. Approximately 46.4 grams of suspected

      methamphetamine (gross weight including packaging) were found in the vehicle and

      approximately 493.5 grams of suspected methamphetamine (gross weight including

      packaging) more were found in the field through which the vehicle had fled. The

      vehicle also contained approximately $17,000 cash, a firearm and 6 cellular phones.

      JONES was arrested for various charges including possession of methamphetamine

      with intent to resale, but bonded out of jail shortly after his arrest.

                                     January 30, 2021 Arrest

   11. On January 30, 2021, at 12: 16 am, Officer Pellien and other officers with the Johnson

      City Police Department (JCPD) responded to 119 Pinnacle Drive, Johnson City, TN

      (Quality Inn). Officers with the JCPD had been made aware of a federal warrant that

      had been obtained for Barry JONES charging JONES with distributing 50 grams or



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Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 5 of 15 PageID #: 6
        more of methamphetamine (21 USC 841 ), possession with intent to distribute 50

        grams or more of methamphetamine (21 USC 841 ), and possession of a firearm in

        furtherance of a drug trafficking offense ( 18 USC 924). An investigation by the JCPD

        revealed that JONES was staying at the Quality Inn in room 411.

 12. Officer Pellien, and other officers with the JCPD, conducted a knock and talk at room

    411 in an attempt to locate JONES . JONES came to the door, and officers cleared the

    room for other occupants,. locating Alma Nicole Cradic BOWERS . Both JONES and

    BOWERS were detained . While detained, BOWERS asked to sit in the hotel room due to

    the inclement weather. Officers checked the area that BOWERS was going to sit and

    located 2 firearms, 3 syringes, a glass pipe, baggies, a scale, and approximately 10.13

    grams of a white crystal substance consistent with crystal methumphetamine.

 13, JONES and BOWERS signed a vvrittcn Miranda warning and agreed to further

    questioning. BOWERS stated that she was picked up by JONES in Asheville, NC on

    January 29, 2021, and JONES brought her back to the Quality Inn. BOWERS further

    stated that she was unaware of any dmg use or firearms , but BOWERS did notice that

    JONES had a box of ammo. JONES had a corroborating statement, however, JONES

    stated that he didn't know who the firearm or drugs belonged to.

14. An inventory search of JONES belongings revealed approximately (98) .357 rounds, (6)

    .380 rounds, and (9) 9 mm rounds of ammo. A records check of the firearms revealed a

    Taurus HX45156 that was recovered had been reported stolen from a vehicle burglary in

    Kingsport, TN. Jones is a convicted felon who is not allowed to possess firearms .

    JONES and BOWERS were arrested .




                                                 6


Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 6 of 15 PageID #: 7
15 . JONES was also in possession of a black T-Mobile cellular phone (the Device). The

    Device was stamped with IMEi identifier O15727002830926. The Device was taken with

    the other evidence and logged into storage at the JCPD.

 16. The Device is currently in the lawful possession of Homeland Security Investigations

    (HIS). On February 12, 2021, JCDP released the Device to Special Agent John Bulla

    who placed it in the HSI evidence storage vault located in Carter County, Tennessee. In

    my training and experience, I know that the Device has been stored in a manner in which

    its contents are, to the extent material to this investigation, in substantially the same state

    as they were when the Device first came into the possession of JCPD.

                       CELLULAR PHONES AND DRUG TRAFFICKING

    17. Based on my training and experience, I know that those involved in drug trafficking

        activities commonly use cellular telephones, to include the text messaging

        capabilities, to contact others to discuss and arrange drug transactions and to further

        their illicit drug business. I know that people in the use and distribution of controlled

        substances maintain records relating to their drug trafficking activities in their cellular

        telephones. I know that narcotics traffickers also keep stored messages, videos, and

        pictures, and telephone numbers relating to their drug trafficking activities within

        their cellular telephones. These individuals routinely use cellular telephones to

        communicate with other individuals concerning various aspects of the use and

        distribution of controlled substances.

                                         TECHNICAL TERMS


    18. Based on my training and experience, I use the following technical terms to convey the

        following meanings :


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Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 7 of 15 PageID #: 8
              a.   Wireless telephone: A wireless telephone (or mobile telephone, or

                   cellular telephone) is a handheld wireless device used for voice and

                   data communication through radio signals. These telephones send

                   signals through networks of transmitter/receivers, enabling

                   communication with other wireless telephones or traditional "land

                   line" telephones . A wireless telephone usually contains a "call log,"

                   which records the telephone number, date, and time of calls made to

                   and from the phone. In addition to enabling voice communications,

                   wireless telephones offer a broad range of capabilities. These

                   capabilities include: storing names and phone numbers in electronic

                   "address books;" sending, receiving, and storing text messages and e-

                   mail; taking, sending, receiving, and storing still photographs and

                   moving video; storing and playing back audio files; storing dates,

                   appointments, and other information on personal calendars; and

                   accessing and downloading information from the Internet. Wireless

                   telephones may also include global positioning system ("GPS")

                   technology for determining the location of the device.


              b. Digital camera: A digital camera is a camera that records pictures as

                   digital picture files, rather than by using photographic film. Digital

                   cameras use a variety of fixed and removable storage media to store

                   their recorded images. Images can usually be retrieved by connecting

                   the camera to a computer or by connecting the removable storage

                   medium to a separate reader. Removable storage media include


                                             8


Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 8 of 15 PageID #: 9
                  various types of flash memory cards or miniature hard drives. Most

                  digital cameras also include a screen for viewing the stored images.

                  This storage media can contain any digital data, including data

                  unrelated to photographs or videos .


               c. Portable media player: A portable media player (or "MP3 Player" or

                  iPod) is a handheld digital storage device designed primarily to store

                  and play audio, video, or photographic files. However, a portable

                  media player can also store other digital data. Some portable media

                  players can use removable storage media. Removable storage media

                  include various types of flash memory cards or miniature hard drives.

                  This removable storage media can also store any digital data.

                  Depending on the model , a portable media player may have the ability

                  to store very large amounts of electronic data and may offer additional

                  features such as a calendar, contact list, clock, or games.


               d. GPS : A GPS navigation device uses the Global Positioning System to

                  display its current location. It often contains records the locations

                  where it has been. Some GPS navigation devices can give a user

                  driving or walking directions to another location. These devices can

                  contain records of the addresses or locations involved in such

                  navigation. The Global Positioning System (generally abbreviated

                  "GPS") consists of 24 NA VSTAR satellites orbiting the Earth. Each

                  satellite contains an extremely accurate clock. Each satellite

                  repeatedly transmits by radio a mathematical representation of the

                                            9


Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 9 of 15 PageID #: 10
                    current time , combined with a special sequence of numbers. These

                    signals are sent by radio, using specifications that are publicly

                    available. A GPS antenna on Earth can receive those signals. When a

                    GPS antenna receives signals from at least four satellites, a computer

                    connected to that antenna can mathematically calculate the antenna' s

                    latitude, longitude, and sometimes altitude with a high level of

                    prec1s10n.


               e.   PDA: A personal digital assistant, or PDA, is a handheld electronic

                    device used for storing data (such as names, addresses, appointments

                    ·or notes) and utilizing computer programs. Some PDAs also function

                    as wireless communication devices and are used to access the Internet

                    and send and receive e-mail. PDAs usually include a memory card or

                    other removable storage media for storing data and a keyboard and/or

                    touch screen for entering data. Removable storage media include

                    various types of flash memory cards or miniature hard drives. This

                    removable storage media can store any digital data. Most PDAs run

                    computer software, giving them many of the same capabilities as

                    personal computers. For example, PDA users can work with word-

                    processing documents, spreadsheets, and presentations. PDAs may

                    also include global positioning system ("OPS") technology for

                    determining the location of the device.




                                              10



Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 10 of 15 PageID #: 11
    19. Based on my training, experience, and research, I know that the Device has

       capabilities that allow it to serve as "a wireless telephone, digital camera, portable

       media player, OPS navigation device, and PDA." In my training and experience,

       examining data stored on devices of this type can uncover, among other things,

       evidence that reveals or suggests who possessed or used the device.


                    ELECTRONIC STORAGE AND FORENSICE ANALYSIS

    20. Forensic evidence. As further described in Attaclunent B, this application seeks

       pem1ission to locate not only electronically stored information that might serve as

       direct evidence of the crimes described on the warrant, but also forensic evidence that

       establishes how the Device was used, the purpose of use, who used it, and when.

       There is probable cause to believe that this forensic electronic evidence might be on

       the Device because:

               a. data on the storage medium can provide evidence of a file that was once

                   on the storage medium but has since been deleted or edited, or of a deleted

                   portion of a file (such as a paragraph that has been deleted from a word

                   processing file).

               b. Forensic evidence on a device can also indicate who has used or controlled

                  the device. This "user attribution" evidence is analogous to the search for

                  "indicia of occupancy" while executing a search warrant at a residence.

               c. A person with appropriate familiarity with how an electronic device works

                   may, after examining this forensic evidence in its proper context, be able

                  to draw conclusions about how electronic devices were used, the purpose

                  of their use, who used them, and when.


                                                 11


Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 11 of 15 PageID #: 12
               d. The process of identifying the exact electronically stored information on a

                  storage medium that is necessary to draw an accurate conclusion is a

                  dynamic process. Electronic evidence is not always data that can be

                  merely reviewed by a review team and passed along to investigators.

                  Whether data stored on a computer is evidence may depend on other

                  information stored on the computer and the application of knowledge

                  about how a computer behaves . Therefore, contextual information

                  necessary to understand other evidence also falls within the scope of the

                  ,;,.,,arrant.


               e. Further, in finding evidence of how a device was used, the purpose of its

                  use, who used it, and when, sometimes it is necessary to establish that a

                  particular thing is not present on a storage medium .


    21. Nature of examination. Based on the foregoing, and consistent with Rule

       41(e)(2)(B), the warrant I am applying for would permit the exan1ination of the

       Device consistent with the warrant. The examination may require authorities to

       employ techniques, including but not limited to computer-assisted scans of the entire

       medium, that might expose many parts of the device to human inspection in order to

       detem1ine whether it is evidence described by the warrant.

    22. lvfanner of execution. Because this warrant seeks only permission to examine a

       device already in law enforcement ' s possession, the execution of this warrant does

       not involve the physical intrusion onto a premises. Consequently, I submit there is

       reasonable cause for the Court to authorize execution of the warrant at any time in the

       day or night.

                                                12



Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 12 of 15 PageID #: 13
                                            CONCLUSION

    23. Based on the foregoing, I submit that there is probable cause to believe that the Device

       contains evidence of drug trafficking, specifically violations of Title 21 USC 841 (a)(l)

       and    846,   Distribution   of Methamphetamine        and   Conspiracy    to   Distribute

        Methamphetamine, respectively.



        I declare under the penalty of perjury that the foregoing is true and correct to the best

    of my knowledge and belief.

                                      Respectfully submitted,



                                       Brandon G. Johnson
                                       Drug Enforcement A ministration, Task Force Officer


    Subscribed and sworn to before me by telephone on February /       1,2021.




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Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 13 of 15 PageID #: 14
                                       ATTACHMENT A

    The property to be searched is a black T-mobile cellular phone with IMEi number

    015727002830926. This cellular telephone, hereinafter the "Device", was located and

    seized from the person of BARRY JONES when he was arrested by the Johnson City

    Police Department on January 30, 2021. The Device is currently located in secure

    evidence storage at the Office of Homeland Security Investigations (HSI) in the Eastern

    District of Tennessee. This warrant authorizes the forensic examination of The Device

    for the purpose of identifying the electronically stored information described in

    Attachment B.




                                                 14



Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 14 of 15 PageID #: 15
                                           ATTACHMENT B

           Specifically, the items to be seized include data found in the storage medium of

    the Device, specifically the data described below:

           I.         All records stored on the Device described in Attachment A that relate to

    violations ofTitle 21 U.S.C. § 841(a)(l), 21 U.S.C. 846, including:


                a.    Lists of customers and related identifying information;

                b. Types, amounts, and prices of drugs trafficked as well as dates, places, and
                      amounts of specific transactions;

                c.    Any information related to sources of drugs (including names, addresses,
                      phone numbers, or any other identifying information);

                d. Phone numbers and/or contact information for associates;

                e. Photographs depicting drugs, drug paraphernalia; drng proceeds, firearms
                      or known drug associates and coconspirators;

                f.    Text messages related to drug activity, illegal possession of firearms or
                      probative of conspiracy to distribute drugs;

                g. Evidence of user attribution showing who used or owned the phones at the
                     , time the things described in this warrant were created, edited, or deleted,
                      such as logs, phonebooks, saved usernames and passwords, documents,
                      and browsing history;

           As used above, the terms arecords" and "information" include all of the foregoing

    items of evidence in whatever form and by whatever means they may have been created

    or stored, including any form of computer or electronic storage (such as flash memory or

    other media that can store data) and any photographic form.




                                                    15


Case 2:21-mj-00025-CRW Document 2 Filed 02/17/21 Page 15 of 15 PageID #: 16
